
SHIRLEY S. ABRAHAMSON, J.
f 29. (dissenting). I write in dissent in several attorney discipline cases because I have concerns about the discipline imposed.
¶ 30. This is Attorney Crandall's fifth brush with the OLR in the seven years since 2008. He has been disciplined four times previously: a three-month suspension, a public reprimand, a 30-day suspension, and a five-month suspension. It does not appear that the previous discipline had the impact the court intended. Nevertheless, the court now imposes another public reprimand. This sanction is too light. The court professes that it has "long adhered to progressive discipline." OLR v. Netzer, 2014 WI 7, ¶ 49, 352 Wis. 2d 310, 841 N.W.2d 820. The principle of progressive discipline should be applied here. It is not.
¶ 31. Moreover, I write to state my difficulty reconciling the significantly different levels of discipline imposed in the instant case (public reprimand) and in OLR v. Boyle, 2015 WI 110, 365 Wis. 2d 649, 872 N.W.2d 637.
¶ 32. In OLR v. Boyle, the referee found (and the court agreed) that the respondent attorney committed all six charged offenses (including two trust account violations). The discipline: a 60-day suspension plus conditions. The respondent attorney had received *692three private reprimands between 2002 and 2012. How does the court justify imposing harsher discipline on Attorney Boyle than on Attorney Crandall?
¶ 33. I also have difficulty reconciling the significantly different levels of discipline imposed in the following three cases. The first two cases are based on a stipulation of the parties. The third case is a default by the respondent attorney:
• OLR v. Krogman, 2015 WI 113, 365 Wis. 2d 628, 872 N.W.2d 657: Upon stipulation admitting the factual allegations, the court orders a four-month suspension of license and conditions upon reinstatement. The complaint alleged 22 counts of professional misconduct involving four clients, misconduct relating to license suspension, and misconduct relating to trust accounts. The four-month suspension seems too light compared to the discipline imposed in the other cases.
• OLR v. Aleman, 2015 WI 112, 365 Wis. 2d 676, 872 N.W.2d 655: Illinois imposed a two-year suspension for two counts of misconduct stemming from co-founding and working with a national debt settlement firm. Upon stipulation of the parties, this court orders reciprocal discipline in Wisconsin. The two-year suspension seems too harsh compared to the discipline imposed in other cases.
• OLR v. Sayaovong, 2015 WI 100, 365 Wis. 2d 200, 871 N.W.2d 271: This per curiam was released November 18, 2015, imposing suspension for a period of six months. Attorney Sayaovong defaulted in the discipline case. The complaint alleged six counts of misconduct, four counts involving two clients and two counts *693involving another client. In 2014 Attorney Sayaovong was publicly reprimanded for misconduct in two separate client matters. See OLR v. Sayaovong, 2014 WI 94, 357 Wis. 2d 312, 850 N.W.2d 940. The discipline does not seem consistent with the discipline imposed in other cases.
¶ 34. For the reasons set forth, I write in each of these cases.
¶ 35. I am authorized to state that Justice ANN WALSH BRADLEY joins this opinion.
